

Crehan v Richardson (2025 NY Slip Op 01528)





Crehan v Richardson


2025 NY Slip Op 01528


Decided on March 14, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CURRAN, J.P., OGDEN, DELCONTE, AND HANNAH, JJ.


790 CA 23-01485

[*1]VINCENT CREHAN AND KATHRYN EHRIG, PLAINTIFFS-APPELLANTS,
vJEFFREY B. RICHARDSON, ET AL., DEFENDANTS, AND JULES L. SMITH, DEFENDANT-RESPONDENT. (APPEAL NO. 2.) 






ZDARSKY, SAWICKI &amp; AGOSTINELLI LLP, BUFFALO (GERALD T. WALSH OF COUNSEL), FOR PLAINTIFFS-APPELLANTS. 
HAGERTY &amp; BRADY, BUFFALO (MICHAEL A. BRADY OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order and judgment (one paper) of the Supreme Court, Erie County (Emilio Colaiacovo, J.), entered August 16, 2023. The order and judgment granted the motion of defendant Jules L. Smith to dismiss the complaint against him. 
It is hereby ORDERED that the order and judgment so appealed from is unanimously affirmed without costs.
Same memorandum as in Crehan v Richardson ([appeal No. 1] — AD3d — [Mar. 14, 2025] [4th Dept 2025]).
Entered: March 14, 2025
Ann Dillon Flynn
Clerk of the Court








